Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 16-CV-2783-RM-MJW

  ROXANNE RUSSELL,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA

         Defendant.



                      DEFENDANT’S MOTION TO DISMISS FOR LACK
                          OF SUBJECT MATTER JURISDICTION



         Defendant United States of America, through undersigned counsel, moves to dismiss

  Plaintiff’s complaint [Doc. 1] pursuant to Federal Rule of Civil Procedure 12(b)(1). Plaintiff’s

  claim for medical negligence brought under the Federal Tort Claims Act should be dismissed

  because she did not comply with Wyoming tort law by filing a claim with the Wyoming Medical

  Review Panel before filing her lawsuit in federal court.

                                   FACTUAL BACKGROUND

         Plaintiff, a Navy veteran, filed this negligence action pursuant to the Federal Tort Claims

  Act (“FTCA”), 28 U.S.C. § 1346(b) and § 2671, et seq., for injuries she received during a

  medical procedure at the Veterans Affairs Medical Center in Cheyenne, Wyoming (“VA” or

  “VAMC”). [Doc. 1]. Plaintiff, a resident of Weld County, Colorado, alleges that, on April 21,
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 2 of 13




  2014, she was injured when a VA orthopedic surgeon negligently completed a right total knee

  arthroplasty. Id. at ¶ 8.

          Plaintiff, through counsel, timely filed a tort claim with the VA on February 23, 2016.

  [Doc. 1, ¶ 5]. After engaging in settlement discussions with the VA, Plaintiff deemed her

  administrative claim as denied on August 23, 2016, [Doc. 19, ¶ 5], and filed this lawsuit on

  November 15, 2016. [Doc. 1].

          Wyoming law governs Plaintiff’s FTCA claim for medical negligence because the

  alleged act of negligence occurred in Wyoming. 28 U.S.C. § 1346(b) (The United States is liable

  to the claimant “in accordance with the law of the place where the act or omission occurred.”).

          In 2005, Wyoming enacted a pre-suit review process for medical negligence claims

  through the establishment of a medical review panel. 1 Wyo. Stat. Ann. §§ 9-2-1514 through 9-

  2-1522 (the “Wyoming Act”). Prior to a suit being filed in any court, the Wyoming Medical

  Review Panel “shall review all malpractice claims against health care providers.” Wyo. Stat.

  Ann. § 9-2-1518.

          More specifically, the Wyoming Act states that “[u]nless submission to the panel is

  waived in accordance with [Wyo. Stat. Ann. §] 9-2-1519(a), no complaint alleging malpractice

  shall be filed in any court against a health care provider before a claim is made to the panel and

  its decision is rendered.” Id. (emphasis added). A waiver is only effectuated when both parties,

  in writing, state that they are waiving panel review in advance of filing suit. Wyo. Stat. Ann. §

  9-2-1519(a).




  1
   Additional information about the Wyoming Medical Review Panel can be found at:
  http://ag.wyo.gov/medical-review-panel.

                                                   2
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 3 of 13




          Section 9-2-1519 of the Wyoming Act sets forth what information must be contained in

  the claim to the panel. Wyo. Stat. Ann. § 9-2-1519 (a claim shall contain “(i) A statement in

  reasonable detail of the elements of the health care provider’s conduct which are believed to

  constitute a malpractice claim, the dates the conduct occurred, and the names and addresses of all

  health care providers having contact with the claimant relevant to the claim and all witnesses.”).

          The stated purpose of the Wyoming Act is “[t]o prevent where possible the filing in court

  of actions against health care providers and their employees for professional liability in situations

  where the facts do not permit at least a reasonable inference of malpractice.” Wyo. Stat. Ann.

  § 9-2-1514.

          Plaintiff has not filed a claim with the Wyoming Medical Review Panel. See Doc. 1

  (Plaintiff’s complaint contains no allegation that she filed a claim in Wyoming). 2

          Per the Court’s Order granting Plaintiff’s request for a hearing on this issue, the Court

  also ordered the parties to brief the application of any applicable statute of limitations and any

  tolling of the same. [Doc. 20]. The Court set an oral hearing on these issues to occur on

  February 2, 2017, at 2 p.m. [Doc. 22].

                                               ARGUMENT

          Plaintiff’s complaint should be dismissed pursuant to Federal Rule of Civil Procedure

  12(b)(1) because the FTCA is a limited waiver of sovereign immunity, which is a jurisdictional

  issue. Were Plaintiff suing a private medical provider under like circumstances, she would be

  barred from filing suit under Wyoming law because she did not first submit her claim to the

  Wyoming Medical Review Panel as required by the Wyoming Act. Accordingly, Plaintiff does



  2
   Based on communications with Plaintiff’s counsel, Plaintiff does not dispute that she did not file a claim
  with the panel. Undersigned counsel also contacted the Wyoming Medical Review Panel, and their staff
  verified that no claim has been filed for care related to this case.

                                                       3
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 4 of 13




  not bring a cognizable FTCA claim against the United States, depriving the Court of subject

  matter jurisdiction.

         Pursuant to the Court’s Order seeking additional briefing on any applicable statute of

  limitations, and any tolling of the same, Defendant will brief its position on this issue, to the

  extent known at this time, in Section III below. However, Defendant submits that such

  limitations issues are unrelated to its motion to dismiss for lack of subject matter jurisdiction.

  I.     Governing standards

         A. Rule 12(b)(1) standard

         Federal Rule of Civil Procedure 12(b)(1) empowers a court to dismiss a complaint for

  lack of subject matter jurisdiction. Fed. R. Civ. P. 12(b)(1). Federal courts are courts of limited

  jurisdiction, and the burden of proving subject matter jurisdiction rests with the party invoking it.

  Pueblo of Jemez v. United States, 790 F.3d 1143, 1151 (10th Cir. 2015). “Indeed, ‘[i]t is to be

  presumed that a cause lies outside this limited jurisdiction, and the burden of establishing the

  contrary rests upon the party asserting jurisdiction.’” Id. (quoting Becker v. Ute Indian Tribe of

  the Uintah and Ouray Reservation, 770 F.3d 944, 947 (10th Cir. 2014).

         “Subject-matter jurisdiction involves a court’s authority to hear a given type of case ...

  and may not be waived.” Radil v. Sanborn Western Camps, Inc., 384 F.3d 1220, 1224 (10th Cir.

  2004) (internal citations omitted). Challenges to subject matter jurisdiction may be raised at any

  stage in a case, and a court must dismiss the case if subject matter jurisdiction is lacking.

  Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006). The dismissal is without prejudice. Brereton

  v. Bountiful City Corp., 434 F.3d 1213, 1218 (10th Cir. 2006); see also Frederiksen v. City of

  Lockport, 384 F.3d 437, 438 (7th Cir. 2004) (noting that dismissals for lack of jurisdiction

  should be without prejudice because a dismissal with prejudice is a disposition on the merits



                                                    4
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 5 of 13




  which a court lacking jurisdiction may not render). A Rule 12(b)(1) motion to dismiss “must be

  determined from the allegations of fact in the complaint, without regard to mere conclusory

  allegations of jurisdiction.” Groundhog v. Keeler, 442 F.2d 674, 677 (10th Cir.1971). When

  considering a Rule 12(b)(1) motion, however, the Court may consider matters outside the

  pleadings without transforming the motion into one for summary judgment. Holt v. United

  States, 46 F.3d 1000, 1003 (10th Cir. 1995).

         B. The FTCA provides a limited waiver of the United States’ sovereign immunity,
            and the question of whether sovereign immunity exists is jurisdictional.

         Plaintiff brings suit pursuant to the FTCA, “which waive[s] the sovereign immunity of

  the United States for certain torts committed by federal employees.” F.D.I.C. v. Meyer, 510 U.S.

  471, 475-76 (citing 28 U.S.C. § 1346(b)). The question of whether sovereign immunity exists

  “is jurisdictional in nature.” Ortiz v. U.S. ex rel. Evans Army Cmty. Hosp., 786 F.3d 817, 820

  (10th Cir. 2015) (quoting Meyer, 510 U.S. at 475) (interpreting scope of sovereign immunity

  under FTCA); accord Dahl v. United States, 319 F.3d 1226, 1228 (10th Cir. 2003); Normandy

  Apartments, Ltd. v. United States Dep’t of Hous. & Urban Dev., 554 F.3d 1290, 1295 (10th Cir.

  2009) (“The defense of sovereign immunity is jurisdictional in nature, depriving courts of subject

  matter jurisdiction where applicable.”). “Absent a waiver, sovereign immunity shields the

  Federal Government and its agencies from suit.” Meyer, 510 U.S. at 475. Indeed, the United

  States Supreme Court recently commented that Section 1346(b)’s waiver of sovereign liability is

  a jurisdiction-granting provision. See United States v. Kwai Fun Wong, 135 S. Ct. 1625, 1637

  (2015) (in holding that FTCA’s statute of limitations provision, 28 U.S.C. § 2401(b), is not

  jurisdictional, recognizing 28 U.S.C. § 1346(b) as the “FTCA’s jurisdictional provision”

  allowing courts to hear suits “under circumstances where the United States, if a private person,

  would be liable to the claimant.”)


                                                  5
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 6 of 13




          The FTCA subjects the government to suit for negligence to the same extent as a private

  party in the state where the act or omission occurred. 28 U.S.C. § 1346(b) (Section 1346(b)

  states, in relevant part, that an employee of the United States shall be liable “under circumstances

  where the United States, if a private person, would be liable to the claimant in accordance with

  the law of the place where the act or omission occurred”). Therefore, in order for a claim to be

  cognizable under Section 1346(b), a plaintiff “must allege, inter alia, that the United States

  ‘would be liable to the claimant’ as ‘a private person’ ‘in accordance with the law of the place

  where the act or omission occurred.’” Meyer, 510 U.S. at 477 (quoting 28 U.S.C. § 1346(b));

  Pappas v. United States, 617 F. App’x 879, 881 (10th Cir. 2015) (unpublished) (“To state a

  cognizable claim under § 1346(b), the FTCA’s jurisdictional grant, a complaint must allege the

  elements of that provision, including as relevant to the case at bar, that a private person would be

  liable to the plaintiff under the tort law of the state where the act or omission occurred.”).

         “A claim that fails to allege facts sufficient to meet this requirement must be dismissed

  for lack of subject matter jurisdiction.” Id. (citing Dorking Genetics v. United States, 76 F.3d

  1261, 1264 (2d Cir. 1996) (finding plaintiff failed to state cognizable FTCA claim, where

  allegations failed to satisfy necessary elements to state a cause of action under New York law).

  II.    Because Plaintiff failed to file a claim with the Wyoming medical review panel, her
         medical negligence claim is not cognizable under the Federal Tort Claims Act, and
         this Court lacks subject matter jurisdiction over it.

         In her complaint, Plaintiff has not alleged that she is entitled to relief under Wyoming tort

  law. [Doc. 1]. More specifically, she has not alleged that she submitted a medical negligence

  claim to the Wyoming Medical Review Panel prior to filing her claim in federal court, as

  required by the Wyoming Act. Id.

         The Wyoming Act states that:



                                                    6
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 7 of 13




         Unless submission to the panel is waived in accordance with W.S. [§] 9-2-1519(a)
         [requiring agreement by both parties in writing], no complaint alleging
         malpractice shall be filed in any court against a health care provider before a
         claim is made to the panel and its decision is rendered.

         see Wyo. Stat. Ann. § 9-2-1518 (emphasis added).

         The Tenth Circuit has specifically held that the Wyoming Act applies to medical claims

  brought by claimants pursuant to the FTCA. Van Dyke v. United States, 457 F. App’x 721, 726

  (10th Cir. Jan. 11, 2012) (unpublished). In Van Dyke, the Court first acknowledged that “the

  government’s source of substantive liability under the FTCA is the law of the place where the

  allegedly negligent or wrongful act or omission occurred—in this case, Wyoming.” Id. (internal

  quotation omitted). Then, the 10th Circuit held that compliance with the Wyoming Act is a

  mandatory requirement that is part of the substantive law of the place giving rise to an FTCA

  medical malpractice claim against a Wyoming medical provider. Id. Accordingly, the court

  upheld the district court’s dismissal of the complaint for failure to submit a claim to the

  Wyoming Medical Review Panel prior to filing suit in court against a medical provider for care

  provided in Wyoming. Id.

         In reaching this conclusion, the Court acknowledged the fundamental principle under the

  FTCA that: “Where, as here, a state statute benefits a private person by restricting medical

  malpractice suits, the United States in an FTCA case must receive the same benefit.” Id. at 727.

         The Van Dyke court also rejected the plaintiff’s argument that initiating a proceeding

  with the Wyoming Medical Review Panel would have been futile because the federal

  government would not have participated in that forum. Id. The court stated that:

         [A] claimant’s compliance with the Wyoming Act’s requirements is mandatory,
         even if a health care provider ultimately chooses not to participate in the process.
         Because a claimant’s obligations are not excused when a private provider declines
         to participate, they likewise cannot be excused merely because the United States
         will not participate.


                                                    7
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 8 of 13




  Id. (internal quotation and citation omitted). The court in Van Dyke also relied on Hill v.

  SmithKline Beecham Corp., 393 F.3d 1111, 1117 (10th Cir. 2004), which held that a claimant

  bringing a FTCA suit for medical negligence under Colorado law was required to comply with

  the state’s requirement that a certificate of review be filed indicating the claim had been

  reviewed by an expert. Id.

         More recently, following Van Dyke, a court in this District dismissed a claimant’s FTCA

  medical malpractice claim against the United States for failure to comply with the Wyoming

  Medical Panel Review process prior to filing suit. See Fogle v. United States, No. 14-cv-00486-

  REB-KLM (D. Colo. Sep. 14, 2016) (unpublished). Granting the Government’s Rule 12(b)(1)

  motion to dismiss for lack of subject matter jurisdiction, the court held that failure to allege or

  present facts showing compliance with the Wyoming Act’s pre-suit requirement meant that

  “plaintiff has not demonstrated the United States waived its sovereign immunity under the

  FTCA.” Id. at *2 (adopting recommendation to dismiss for lack of subject matter jurisdiction,

  which was issued approximately one month before bench trial).

         As in Van Dyke and Fogle, Plaintiff’s claim here fails too. Plaintiff received medical

  treatment at the VAMC in Cheyenne, Wyoming, from a health care provider (Dr. Robyn

  Peckham, M.D., an orthopedic surgeon) who falls within the coverage of the Wyoming Statute.

  See Wyo. Stat. Ann. § 9-2-1515; 3 Doc. 1, ¶¶ 1, 3, 8. Dr. Peckham was an employee of the

  Department of Veterans Affairs at the time of the alleged negligence. [Doc. 1, ¶ 3]. Plaintiff did

  not file a medical negligence claim with the Wyoming Medical Review Panel prior to filing suit



  3
   Under the Act, health care provider “means a person or facility licensed, certified or otherwise
  authorized by the law of this state to provide health care in the ordinary course of business or
  practice of a profession, but does not include a person who provides health care solely through
  the sale or dispensing of drugs or medical devices.” Wyo. Stat. Ann. § 9-2-1515(a)(i).
                                                    8
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 9 of 13




  in federal court. As such, she has not complied with Wyoming tort law, which is the substantive

  law upon which the government’s waiver of sovereign immunity is based. Because Plaintiff has

  not satisfied the condition precedent before filing suit, she is unable to maintain a claim for

  medical negligence under Wyoming law. Plaintiff’s claim is therefore not cognizable under the

  FTCA, which subjects the United States to liability only to the same extent as a private

  individual in Wyoming.

         In other words, assuming Dr. Peckham was a private physician in Wyoming, Plaintiff

  would not be able to maintain a medical malpractice action against her in state or federal court

  because Plaintiff has not satisfied the condition precedent created by the Wyoming Statute.

  Likewise, Defendant in this case is entitled to the same process afforded by the Medical Review

  Panel as a private physician in Wyoming. Van Dyke, 457 F. App’x at 726 (“[C]ompliance

  furthers Wyoming’s goal of “prevent[ing] where possible the filing in court of actions against

  health care providers and their employees for professional liability in situations where the facts

  do not permit at least a reasonable inference of malpractice.”). This condition precedent has not

  been waived or excused by the fact that the alleged medical negligence may have been

  attributable to a VA doctor rather than a private physician in Wyoming. Accordingly, the Court

  lacks subject matter jurisdiction over Plaintiff’s claim.

  III.   Issues related to the FTCA’s six-month statute of limitations for filing suit and the
         Government’s position that any Wyoming tolling provisions would not toll the
         FTCA’s statute of limitations.

         The Court ordered the parties to provide additional briefing on any applicable statute of

  limitations, and any tolling of the same. [Doc. 20]. Although Defendant submits that such

  limitations issues are unrelated to its motion to dismiss for lack of subject matter jurisdiction,

  Defendant herein provides its position on this issue, to the extent known at this time.



                                                    9
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 10 of 13




          Under the FTCA, “[f]ederal law bars any tort claim against the United States unless it is

   presented to the appropriate federal agency within two years of the claim’s accrual, and filed

   within six months after notice of denial of the claim by that agency.” Franklin Sav. Corp., 385

   F.3d 1279, 1287 (10th Cir. 2004) (citing 28 U.S.C. § 2401(b), in relevant part: “[A] tort claim

   against the United States shall be forever barred unless ... action is begun within six months after

   the date of mailing ... of notice of final denial of the claim by the [appropriate Federal] agency to

   which it was presented.”).

          The parties do not dispute that Plaintiff timely filed her administrative claim with the VA,

   received on February 23, 2016, [Doc. 1, ¶ 5], in compliance with the FTCA’s two-year statute of

   limitations from the date of accrual of her claim, April 21, 2014. 28 U.S.C. § 2401(b).

          With respect to the FTCA’s six-month filing requirement from the date a claim is denied,

   id., here, Plaintiff has not, to date, received a formal denial letter from the VA because the VA

   and plaintiff were engaged in correspondence and potential settlement discussions until Plaintiff

   filed suit on November 15, 2016. [Doc. 19, ¶ 5]. Pursuant to 28 U.S.C. § 2675(a), a plaintiff

   who does not receive a formal denial letter may consider her administrative claim “deemed

   denied” after six months from the date she submitted her claim to the appropriate agency. 28

   U.S.C. § 2675(a).

           At this time, it is unclear when Plaintiff’s claim was “deemed denied” for purposes of

   triggering the FTCA’s six-month statute of limitations for filing suit in federal court. Plaintiff

   has stated that her claim was “deemed denied” on August 23, 2016, which was six months after

   submission of her administrative claim to the VA. [Doc. 19, ¶ 5]. However, arguably, Plaintiff’s

   claim was “deemed denied” as of the date that Plaintiff filed her lawsuit—November 15, 2016—

   since such constructive denial of an administrative claim is a prerequisite to filing an FTCA



                                                    10
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 11 of 13




   action in court. Cf. Barnes v. United States, 776 F.3d 1134, 1140 (10th Cir. 2015) (finding that §

   2675(a)’s “deemed denial” provision was triggered when agency issued final denial letter, but

   not addressing question of whether a plaintiff’s filing of lawsuit constitutes a “deemed denial,”

   triggering running of six-month limitations period). Again, to date, the VA has not issued a

   formal letter of denial of Plaintiff’s claim. Accordingly, it is unclear at this time what date

   constitutes the deemed denial date for purposes of triggering the FTCA’s six-month statute of

   limitations. Assuming this date is, as Plaintiff states, August 23, 2016, then the six-month period

   will run up to February 19, 2017. Assuming this date is the date of the filing of this lawsuit,

   November 15, 2016, then the six-month period will run up to May 14, 2017.

           Turning to the issue of the applicability of any tolling provisions, counsel have conferred

   and Plaintiff’s counsel have stated that, were the Court to find that the Wyoming Statute applies

   to Plaintiff’s claim, requiring submission of her claim to the Wyoming Medical Review Panel,

   the Wyoming Statute’s tolling provision would apply to toll the running of any applicable statute

   of limitations.4

           At this time, Defendant does not take a position as to whether or not Plaintiff’s lawsuit, if

   dismissed for lack of subject matter jurisdiction, would be time-barred under the FTCA’s six-

   months limitation period, since the necessary facts are currently unknown. For example, it is

   unknown when Plaintiff would, if necessary, submit her claim to the Wyoming Medical Review

   Panel, or how long the panel would take to complete its review process.

           Nevertheless, in the event that Plaintiff asserts that the Wyoming Statute’s tolling

   provision applied for purposes of tolling the FTCA’s statute of limitations, Defendant would


   4
     The Wyoming Statute does contain a tolling provision, which states that: “The running of the applicable
   limitation period in a malpractice action is tolled upon receipt by the director of the claim and does not
   begin again until thirty (30) days after the panel’s final decision, or seventy-five (75) days after the
   panel’s last hearing, whichever occurs earlier.” Wyo. Stat. Ann. § 9-2-1518(a).

                                                       11
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 12 of 13




   disagree with this position because state law tolling rules do not apply to the FTCA’s statute of

   limitations. See Benge v. United States, 17 F.3d 1286, 1288 (10th Cir. 1994); Simons v. Sw.

   Petro-Chem, Inc., a Div. of Witco Chem. Corp., 28 F.3d 1029, 1030-31 (10th Cir. 1994); Pipkin

   v. U.S. Postal Serv., 951 F.2d 272, 275 (10th Cir. 1991) (“Congress has expressly stated the

   applicable limitation period for FTCA claims and reference to state law is therefore

   inappropriate.”).

                                            CONCLUSION

          Pursuant to Federal Rule of Civil Procedure 12(b)(1), the Court should dismiss Plaintiff’s

   claim for lack of subject matter jurisdiction, because she failed to file a medical negligence claim

   with the Wyoming Medical Review Panel prior to filing suit in federal court. Plaintiff’s failure

   to comply with this condition precedent imposed by Wyoming tort law deprives the Court of

   subject matter jurisdiction because under the FTCA the United States has only waived its

   sovereign immunity for negligence claims to the extent that liability could be imposed upon a

   private physician sued for medical negligence.

          WHEREFORE Defendant respectfully requests that the Court dismiss Plaintiff’s suit,

   enter judgment in its favor, and award any other relief deemed just and proper.

          Dated January 26, 2017

                                                 ROBERT C. TROYER
                                                 Acting United States Attorney

                                                 /s/ Jacob Licht-Steenfat__________
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                                                    12
Case 1:16-cv-02783-RM-MJW Document 27 Filed 01/26/17 USDC Colorado Page 13 of 13




                                    CERTIFICATE OF SERVICE

           I hereby certify that on January 26, 2017, I electronically filed the foregoing document
   with the Clerk of the Court using the CM/ECF system, which will transmit notice of this filing to
   the following participants who are registered CM/ECF users and receiving notices for this
   matter:

          Christopher P. Koupal
          chris@parkerlipman.com

          Daniel A. Lipman
          dan@parkerlipman.com

          Attorneys for Plaintiff

          And I hereby certify that I have mailed or served the document or paper to the following
   non CM/ECF participant(s) in the manner (mail, hand delivery, etc.) indicated by the
   nonparticipant's name:

          None.



                                                       s/ Jacob Licht-Steenfat
                                                       U.S. Attorney’s Office




                                                  13
